                        UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

                                   NO .5:18-CR-l 01-D-3



   UNITED STA TES OF AMERICA

       V.                                                     ORDER TO SEAL

   TEMEKA SHIREE ECHOLS




       On motion of the Defendant, Temeka Shiree Echols, and for good cause shown, it is

hereby ORDERED that DE 239 be sealed until further notice by this Court.

       IT IS SO ORDERED.

      This _1J_ day of October, 2020.




                                   United States District Judge




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